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 7
                               UNITED STATES DISTRICT COURT
 8
                              WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 9

10      USA,                                             CASE NO. CR11-131 MJP

11                            Plaintiff,                 ORDER DENYING MOTION TO
                                                         REDUCE SENTENCE
12             v.

13      RUBEN CAMACHO-CONTRERAS,

14                            Defendant.

15

16         THIS MATTER comes before the Court on Defendant’s motion to reduce his sentence

17 pursuant to 18 U.S.C. § 3582. (Dkt. No. 1090.) Having considered the Parties’ briefing and the

18 relevant record, the Court hereby DENIES the motion.

19                                            Background

20         Defendant Ruben Camacho-Contreras was sentenced on June 15, 2012, following his

21 conviction for Conspiracy to Distribute Controlled Substances. This Court calculated his Total

22 Offense Level as 31. Because Defendant’s Criminal History Category was V, the resulting

23 Guidelines range was 168 – 210 months. The Court then varied downward from that range,

24 imposing a sentence of 132 months.

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 1          Defendant now moves for a reduction in sentence based on Amendment 788 to the

 2 Sentencing Guidelines which made Amendment 782 to USSG § 2D1.1 retroactively applicable.

 3 (Dkt. No. 1090.) The Government opposes the motion. (Dkt. No. 1095.)

 4                                             Discussion

 5          Amendment 782 to the United States Sentencing Guidelines, which became effective

 6 November 1, 2014, lowered the penalties for most drug offenses by reducing most base offense

 7 levels contained in the USSG § 2D1.1 Drug Quantity table by two levels, and making other

 8 related adjustments to this Guideline. Along with Amendment 782, the Sentencing Commission

 9 adopted Amendment 788, which decreed that Amendment 782 may be applied retroactively to

10 lower the sentences of previously sentenced inmates. At issue in the instant motion is whether

11 this Court has authority to reduce Defendant’s sentence pursuant to 18 U.S.C. § 3582(c)(2).

12          In order to qualify for a sentence reduction under 18 U.S.C. § 3582(c)(2) two conditions

13 must be met: (1) the defendant must have been sentenced to a term of imprisonment based on a

14 sentencing range that has been lowered by a retroactively applicable Guidelines amendment; and

15 (2) the sentence reduction sought must be consistent with the Sentencing Commission’s

16 applicable policy statements. United States v. Waters, 771 F.3d 679, 680 (9th Cir. 2014) (per

17 curiam). A district court does not have jurisdiction to reduce the defendant’s sentence unless

18 both criteria are met. See United States v. Wesson, 583 F.3d 728, 730 (9th Cir. 2009).

19          Under the retroactively effective amendments to USSG § 2D1.1, Defendant’s Total

20 Offense Level would now be 29. This in turn results in an amended Guidelines range of 140 –

21 175 months. Because the sentence already imposed (132 months) is below the low end of the

22 range as calculated applying the amended Guidelines (140 months), the policy statement

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 1 precludes any reduction in sentence. See United States v. Davis, 739 F.3d 1222, 1224 (9th Cir.

 2 2014). As such, this Court is not authorized to reduce Defendant’s sentence.

 3                                             Conclusion

 4         Defendant is ineligible for a reduction in sentence under 18 U.S.C. § 3582(c)(2) because

 5 the sentence already imposed is below the low end of the amended Guidelines range.

 6 Defendant’s motion to reduce his sentence is therefore DENIED.

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 8         The clerk is ordered to provide copies of this order to all counsel.

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10         Dated this 21st day of September, 2015.

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                                                         Marsha J. Pechman
14                                                       Chief United States District Judge

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     ORDER DENYING MOTION TO REDUCE
     SENTENCE- 3
